

Matter of Shelley v Onondaga County Legislature (2025 NY Slip Op 02511)





Matter of Shelley v Onondaga County Legislature


2025 NY Slip Op 02511


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., CURRAN, OGDEN, DELCONTE, AND KEANE, JJ.


390 CA 24-00758

[*1]IN THE MATTER OF TOBIAS SHELLEY, AS SHERIFF OF ONONDAGA COUNTY, PETITIONER-APPELLANT,
vONONDAGA COUNTY LEGISLATURE AND COUNTY OF ONONDAGA, RESPONDENTS-RESPONDENTS. 






ADAMS LECLAIR LLP, ROCHESTER (RYAN LEFKOWITZ OF COUNSEL), FOR PETITIONER-APPELLANT.
SMITH, SOVIK, KENDRICK &amp; SUGNET, P.C., SYRACUSE (STEVEN W. WILLIAMS OF COUNSEL), FOR RESPONDENTS-RESPONDENTS. 


	Appeal from a judgment (denominated order) of the Supreme Court, Onondaga County (Joseph E. Lamendola, J.), entered April 9, 2024, in a proceeding pursuant to CPLR article 78. The judgment, among other things, dismissed the petition. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed without costs for reasons stated in the decision at Supreme Court.
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








